 Case 7:21-mj-00005-RSB Document 1-1 Filed 01/13/21 Page 1 of 6 Pageid#: 15




                                   STATEMENT OF FACTS

       Your affiant, Vincent Veloz, is a Special Agent with United States Capitol Police. As a
Special Agent, I am authorized by law or by a Government agency to engage in or supervise the
prevention, detention, investigation, or prosecution of a violation of Federal criminal laws. The
U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the U.S. Capitol
include permanent and temporary security barriers and posts manned by U.S. Capitol Police. Only
authorized people with appropriate identification are allowed access inside the U.S. Capitol. On
January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly after
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

      According to information the FBI has reviewed, after 2:00 p.m., but before the joint session
of Congress resumed at 8:00 p.m., the defendants Thomas Robertson and Jacob Fracker were
 Case 7:21-mj-00005-RSB Document 1-1 Filed 01/13/21 Page 2 of 6 Pageid#: 16




photographed in the Capitol Building making an obscene statement in front of a statute of John
Stark (Exhibit A). At the time they were photographed, the defendants were off-duty from their
positions as police officers with the Rocky Mountain Police Department in Rocky Mount, Virginia.

        In social media posts, Defendant Robertson is quoted as saying, “CNN and the Left are just
mad because we actually attacked the government who is the problem and not some random small
business ... The right IN ONE DAY took the f***** U.S. Capitol. Keep poking us.” He also stated
that he was “proud” of the photo in an Instagram Post that was shared to Facebook, because he
was “willing to put skin in the game” (Exhibit B).

       A now-deleted Facebook post by Defendant Fracker containing the caption, “Lol to
anyone who’s possibly concerned about the picture of me going around... Sorry I hate freedom?
…Not like I did anything illegal…y’all do what you feel you need to…” (Exhibit C).

        In a statement to Newsweek, Defendant Robertson admitted that he and Defendant Fracker
sent the photo to their police department colleagues, and after it was leaked to social media he
reposted it on his own Facebook page. It has also been reported that Robertson stated that he broke
no laws, did not know about the violence, and that he had been escorted “in” by the Capitol Police.
Robertson made these claims notwithstanding his previous posts that he had “attacked the
government” and “took the f**** Capitol.” Moreover, at that date and time, the United States
Capitol was on lockdown and the defendants’ presence inside was without lawful authority.

         Based on the foregoing, your affiant submits that there is probable cause to believe that
Thomas Robertson and Jacob Fracker violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a
crime to (1) knowingly enter or remain in any restricted building or grounds without lawful
authority to do; and (2) knowingly, and with intent to impede or disrupt the orderly conduct of
Government business or official functions, engage in disorderly or disruptive conduct in, or within
such proximity to, any restricted building or grounds when, or so that, such conduct, in fact,
impedes or disrupts the orderly conduct of Government business or official functions. For purposes
of Section 1752 of Title 18, a “restricted building” includes a posted, cordoned off, or otherwise
restricted area of a building or grounds where the President or other person protected by the Secret
Service, including the Vice President, is or will be temporarily visiting; or any building or grounds
so restricted in conjunction with an event designated as a special event of national significance.

        Your affiant submits there is also probable cause to believe that Thomas Robertson and
Jacob Fracker violated 40 U.S.C. § 5104(e)(2)(D), which makes it a crime to willfully and
knowingly utter loud, threatening, or abusive language, or engage in disorderly or disruptive
conduct, at any place in the Grounds or in any of the Capitol Buildings with the intent to impede,
disrupt, or disturb the orderly conduct of a session of Congress or either House of Congress, or the
orderly conduct in that building of a hearing before, or any deliberations of, a committee of
Congress or either House of Congress.
 Case 7:21-mj-00005-RSB Document 1-1 Filed 01/13/21 Page 3 of 6 Pageid#: 17




                                                    _________________________________
                                                    Vincent Veloz
                                                    Special Agent
                                                    United States Capitol Police

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 12th day of January 2021.
                                                                       Digitally signed by
                                                       Robin M.    Robin M. Meriweather
                                                       Meriweather Date: 2021.01.12
                                                                   12:36:34 -05'00'
                                                    ___________________________________
                                                    5RELQ00HULZHDWKHU
                                                    U.S. MAGISTRATE JUDGE
Case 7:21-mj-00005-RSB Document 1-1 Filed 01/13/21 Page 4 of 6 Pageid#: 18




                                 Exhibit A
Case 7:21-mj-00005-RSB Document 1-1 Filed 01/13/21 Page 5 of 6 Pageid#: 19




                                 Exhibit B
Case 7:21-mj-00005-RSB Document 1-1 Filed 01/13/21 Page 6 of 6 Pageid#: 20




                                 Exhibit C
